Names DANID bAOUD WRAGRT

Case 1:15-cr-10153-DRW Bocimdnt 4e1Eriled 11/13/19 Page 1 of 2

OF JSUBIC\AL icezee
REMINDER maa

REQH: AUcTA-CBB
Porton Bence ING NOV 13 PH I: 35

P.O. Box 34

Terre Wouke IN ATS 0%

U.S, DISTRICT COURT
DISTRICT OF MASS,

dere: (Monday Qcidoes 26, ZO\4

1.

Out O& WIKIAN G. YOUNG, T hue this \elber reaches

YOO WHAT bese Yoke yf affairs anck well-being. Be er
. J
vine (ollouis;

“Tin Vide, of Ane qpv. decision aoe 40 retry the cose for He det on ced Cag. Carspicacy to Provide Material Suppore

Lb, —_ Pailin ddimeinrk of acauiickal must lot entered an He adoremendoned accounts, ane
to of he aign Terroris€ Organization ), OARS Se OER RIAD. PHS _ . .

ui ley vediceé.

Pasurme 0 ere Fader Qui of Civit Procedure GO WY UYAIG) 2 (6), the det Proceeds arch expicins NS)

 

(\\ THE STATE INAD VERTENCE, SURZAISE OR EXCOSABLE NEGLECT

*MIgy COSL, He Agpeliale Court ov Otureol arvl “vace-teol te der, CEL anol rermmendtiol to te disGict Court
) Re can 1 Ka: 0 :
for fortes procecolings (t.94 “New rrial® or “dismissed, Vacation) and bere he gov. hos decided not to
Rory He ole or ce. 1, ber aby Compelling Gy cure to vaceke 4.1.

(A) TRE JUDGNENT 1S WOID

ee Te wu Lele he remercleel ded stan vf tha A
* TN this Case te gov. Akasa’ Lo reGy Ge der a7 GO. L frags mew Late He PEM CNNM SH HECITIAN oF Lhe # PPM ag
aa - A

- be TED) nnd fae, nu Ok Yucate
Cot Ces te elates £e cu Neve fricl ) voier andl hee. Ria RCS a Cie

(5S) THE JUDGMENT HAS BREN SATISHED, RELEASED OR DISCHARGED = Ty WS BASED CN AN EARUER JUDGMENT THAT Has
BEEN REVERSED CAVACATED + OR APPLYING TT PROSPECTIVELY ES NO LONGER EQUITABLE

* Ln Gris Case, Oe gov. has decideo! MOF to RG Y 4h clef on
a “Vaceteol “by this Cour £ 2 In acl tran 10 tiv
& fualgirent or acquittal be entereal,
Vecombtcl, Fwy Spill -o

Srycni 2 Shay )

. CELL and de “vacateol™
) Bro errniies or, the ol
SHEE COwWILs
an Ore a4 ee Lhe Cer hpir
ie eal eicence Ud dT rig | , WSS
ie bee (cof too NeW TRIAL 07 Counts 2-5 wighoug

CF £0 b8 aceuittecd of the Carduct,

(ec) ANY oTHEe REASON THAT gust € IES Revie ge

breg Can anets ete

CEL mAb now he a tare

Pt. P!QuESES heal counes

2-5 Gre depenclenl a the ob.
a © po of’. «

CY & Hadide Matas il SIA bo

G Crt tule aat

2-5 be vacateolarof
has which has hee) Reed ively
: a Desi gency;
yi it Seluroatect wy ¢

any évioknice of Ch. Bef,

red Fore roe Fema
thers towne St thal ihe Of
¥ MbecelCe el — since hart

et ic nr *
117 Lhis Cosa, Js By
TYLA rns clegre f,

a MElirrp
. . . (AL
(sea alSo raPi aN. Cow dbacsten — Gc AV zZl S
A ZL

4 Courts 2-5,

Ve Crosiey Sas U.S+- 524 (2005" )

       
    

 

PAGE 7
SABAH OLYROEN Coodinbelttaaiv. Rideha/1 8110 FRAga Bez (Cin. 198)
- ing Unitecl Stakes Ve delicate , se ; 1 . a ts 25 °
va oc Pekerolaly be granked & NITE im bre absence of G1 Cage Coogan HY Lo Freie,
Makecral Support to a be Stpnated FOUR TeV Or OFAN! 2abiOAY Cowichan,

COrsCLUSLON,

W AGE Yeung 1 OS tay hordly be dts LEAL, his anlice cage Was anchored by Ord Cenkered crsurg
“e-4, del, aflegedl Ceo prraty to Hroviole Malertal Spark .)) Qrabik GaANaL bog OrGuea, Ua
OLGURAl or Ais Count demords 4 dismissal 6¢ (ONES 2°5 OF aba minimum ( pra‘eeatoly)
O NW Teal on ose CONS vo Even Oekats SUVRENE OF 28 YRACS WOS Pn NCE pally
RGICALR Gm Unis tonvicklon Co.ge Ch.) ) Sach Chak ~ Ga cbserce of this COMBON, Le

Aol, Srauid oe PSANarred Lo ator iess Severe SRAM Bran three(2) decades of
INCarcaralion,

TF cots 2-5 wit rot ot Vacakech and a New Trial on de atorementionwtd is gran bed,
ON ALIS Walll afford the dof. a Laie Ond just ofportuni by *6 POR andl establish his
INROCENCR GE Ge CUMS 2-S3 OS He Appeals tart Correcly COMIZLA OF Ue def
OS IE UALS to G&, A that.
(jars ty ot (his) vi : Poy Lp nk .
Wri tesigiegl CREBIvAly a Gal..” Ad that « Consistent wily dhi's OS KE of Wrights testinal,
We NOEL Wright alSo Ofer ty pu
Cano oer gh lays);

Ckestinong fran a reaopsychalogit.. .” Gey Stated
A Taking GCCOurk of Oh

Gh Loder Fee we conclude that a ralinal we
found from dis widance hak Wridht Cord hav been <)

 

Could havg
WARK FQ

dey (MpLY “role- Plauing!”
SORA B Lall6Wing WSIS's direct ia Cee Appatiate COE 105%, 05 497. 49)
LRESPECT EY LY SBMUTED

SNE, MA

  
   

 

PAGED
